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                               EXHIBIT A: PARTIES’ PROPOSED CONSTRUCTIONS AND SUPPORTING EVIDENCE

     Term for        Claims     Par’s Proposed         Par’s Supporting Evidence              Sandoz’s            Sandoz’s Supporting Evidence
    Construction                 Construction                                                 Proposed
                                                                                             Construction

    “vasopressin”   All         Arginine            E.g., ’239 Patent, 2:33-34, 3:1-2,    Plain and ordinary    Intrinsic Evidence
                    asserted    vasopressin as      Table 1 (vasopressin entry) (cols.    meaning1
                                                                                                                ’239 patent, claims 1 - 19
                    claims      described in        3-4); Table 3 (vasopressin entry)
                                                                                                                ’478 patent, claims 1 - 11
                    from all    SEQ. ID. No. 1      (cols. 19-20); Table 5 (vasopressin
                                                                                                                ’526 patent, claims 1 - 20
                    patents     (see, e.g., ’239    entry) (col. 22); 23:3-5; 24:15-19;
                                                                                                                ’209 patent, claims 1 - 13
                                patent, cols. 25-   24:23-31; SEQ. NO 1 (cols. 25-
                                                                                                                ’785 patent, claims 1 - 11
                                26).                26)
                                                                                                                ’223 patent, claims 1 - 18
                                                    ’478 Patent, 2:45-46; 3:36-37;
                                                    structure illustrated at cols. 1-2;                         The specifications of the patents-in-
                                                    Table 1 (vasopressin entry)(col.                            suit, including the following
                                                    3); Table 3 (vasopressin entry)                             passages:
                                                    (col. 18); Table 5 (vasopressin
                                                    entry) (col. 21); 22:8-10; 23:20-                           ’239 patent, col. 1, l. 18 - 28; col. 2,
                                                    24; 24:27-41; SEQ. NO 1 (cols.                              l. 3 - col. 3, l. 8; Table 1
                                                    25-26)                                                      (vasopressin entry) (cols. 3-4);
                                                                                                                Table 3 (vasopressin entry)
                                                    ’526 Patent, 2:66-67; 4:37-38;                              (cols. 19-20); col. 19, l. 6 - 42;
                                                    structure illustrated at cols. 3-4;                         col. 22, l. 1 - 15; col. 23, l. 3-5;
                                                    Table 1 (vasopressin entry) (cols.                          col. 24, l. 15 - 31; col. 25 - 26 (SEQ
                                                    3-4); Table 3 (vasopressin entry)                           ID NO 1)
                                                    (cols. 55-56); Table 5 (vasopressin
                                                    entry) (col. 59); 60:42-44; 61:54-

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         Sandoz reserves its right to further specify its proposed construction of “vasopressin,” if necessary, in light of further meet and
         confers between the parties as to the proper construction of that term.
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 Term for      Claims   Par’s Proposed      Par’s Supporting Evidence           Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                           Proposed
                                                                               Construction
                                         58; 61:62-62:9; Tables 47-48                         ’478 patent, col. 1, l. 16 - 25; col. 2,
                                         (vasopressin entries) (col. 100);                    l. 18 - col. 3, l. 45; structure
                                         Tables 50-51 (vasopressin entries)                   illustrated at cols. 1-2; Table 1
                                         (col. 101); SEQ. NO 1 (cols. 103-                    (vasopressin entry (col. 3); col. 18,
                                         104)                                                 l. 40 - col. 19, l. 14; col. 21, l. 5 -
                                                                                              19; col. 22, l. 8-10; col. 23, l. 20 -
                                         ’209 Patent, 2:66-67; 3:56-57;                       41; col. 24, l. 27-41; col. 25 - 26
                                         structure illustrated at cols. 3-4;                  (SEQ ID NO 1)
                                         Table 1 (vasopressin entry) (col.
                                         3); Table 3 (vasopressin entry)                      ’526 patent, col. 1, l. 15 - 22; col. 2,
                                         (cols. 57-58); Table 5 (vasopressin                  l. 35 - col. 4, l. 44; structure
                                         entry) (col. 60); 61:3-5; 62:14-18;                  illustrated at cols. 3-4; Table 1
                                         62:22-36; Tables 47-48                               (vasopressin entry) (cols. 3-4);
                                         (vasopressin entries) (cols. 101-                    Table 3 (vasopressin entry)
                                         102); Tables 50-51 (vasopressin                      (cols. 55-56); col. 56, l. 57 -
                                         entries) (col. 102); SEQ. NO 1                       col. 57, l. 23; col. 59, l. 32 - 48;
                                         (cols. 107-110)                                      col. 60, l. 42-44; col. 61, l. 54 -
                                                                                              col. 62, l. 9; Tables 50-51
                                         ’785 Patent, 2:66-67; 3:56-57;                       (vasopressin entries) (col. 101);
                                         structure illustrated at cols. 3-4;                  col. 100, l. 30 - col. 102, l. 13;
                                         Table 1 (vasopressin entry) (col.                    col. 103 - 104 (SEQ ID NO 1)
                                         2); Table 3 (vasopressin entry)
                                         (col. 57); Table 5 (vasopressin                      ’785 patent, col. 1, l. 13 - 21; col. 2,
                                         entry) (col. 59); 60:31-33; 61:45-                   l. 36 - col. 3, l. 65; structure
                                         49; 61:53-62:2; Tables 47-48                         illustrated at cols. 3-4; Table 1
                                         (vasopressin entries) (cols. 100-                    (vasopressin entry) (col. 2); col. 57,
                                         102); Tables 50-51 (vasopressin                      l. 4 - 42; col. 59, l. 22 - 37; col. 60,
                                         entries) (col. 101); SEQ. NO 1                       l. 31-33; col. 61, l. 45 - col. 62, l. 2;
                                         (cols 105-108).                                      Tables 47-48 (vasopressin entries)



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 Term for      Claims   Par’s Proposed      Par’s Supporting Evidence           Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                           Proposed
                                                                               Construction
                                                                                              (cols. 100-102); col. 100, l. 41 -
                                         ’223 Patent, 3:15-16; 4:46-47;
                                                                                              col. 102, l. 48; col. 105 - 108 (SEQ
                                         structure illustrated at cols. 3-4;
                                                                                              ID NO 1), col. 113, l. 51 - col. 116,
                                         Table 1 (vasopressin entry) (cols.
                                                                                              l. 22
                                         3-4); Table 3 (vasopressin entry)
                                         (cols. 59-60); Table 5 (vasopressin
                                                                                              ’209 patent, col. 1, l. 19 - 25; col. 2,
                                         entry) (col. 62); 63:21-23; 64:40-
                                                                                              l. 37 - col. 3, l. 64; structure
                                         44; 64:48-63; Tables 47-48
                                                                                              illustrated at cols. 3-4; Table 1
                                         (vasopressin entries) (cols. 103-
                                                                                              (vasopressin entry) (col. 3); Table 3
                                         104); Tables 50-51 (vasopressin
                                                                                              (vasopressin entry) (cols. 57-58);
                                         entries) (cols. 104); 126:52-54;
                                                                                              col. 56, l. 65 - col. 57, l. 38; col. 59,
                                         128:7-11; 128:15-29; SEQ. NO 1
                                                                                              l. 60 - col. 60, l. 9; col. 61, l. 3-5;
                                         (cols. 129-130).
                                                                                              col. 62, l. 14 - 37; col. 101, l. 1 -
                                         USP38-NF33-Vasopressin                               col. 102, l. 67; col. 107 - 110 (SEQ
                                         Monograph (SAND-                                     ID NO 1), col. 115, l. 47 - col. 118,
                                         VASO00008517-8524)                                   l. 23

                                         Par may additionally rely on                         ’223 patent, col. 1, l. 16 - 22; col. 2,
                                         expert opinion testimony to rebut                    l. 56 - col. 4, l. 53; structure
                                         any expert opinions proffered by                     illustrated at cols. 3-4; Table 1
                                         Sandoz on this term.                                 (vasopressin entry) (cols. 3-4);
                                                                                              Table 3 (vasopressin entry)
                                                                                              (cols. 59-60); col. 59, l. 36 - 67;
                                                                                              col. 62, l. 10 - 27; Table 5
                                                                                              (vasopressin entry) (col. 62);
                                                                                              col. 63, l. 21-23; col. 64, l. 40 - 63;
                                                                                              col. 103, l. 1 - col. 104, l. 67;
                                                                                              col. 108, l. 30 - col. 109, l. 52;




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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    col. 126, l. 52-54; col. 128, l. 7 -
                                                                                    29; col. 129 - 130 (SEQ ID NO 1)

                                                                                    Prosecution history of the ’239
                                                                                    patent, including Application filed
                                                                                    on May 20, 2015; Preliminary
                                                                                    Amendment filed on June 3, 2015;
                                                                                    Non-final Rejection dated June 5,
                                                                                    2015; Response after Non-final
                                                                                    Rejection dated August 14, 2015;
                                                                                    Affidavit filed August 14, 2015;
                                                                                    Final Rejection filed October 21,
                                                                                    2015; Response to Final Rejection
                                                                                    filed November 24, 2015; Non-
                                                                                    Final Rejection dated January 11,
                                                                                    2016; Examiner Initiated Interview
                                                                                    Summary dated March 17, 2016;
                                                                                    Applicant-Initiated Interview
                                                                                    Summary dated March 17, 2016;
                                                                                    Response to Non-Final Rejection
                                                                                    filed on March 17, 2016; Affidavit
                                                                                    filed March 17, 2016; Final
                                                                                    Rejection filed May 12, 2016;
                                                                                    Applicant-Initiated Interview
                                                                                    Summary dated September 9, 2016;
                                                                                    Response after Final Rejection filed
                                                                                    on November 3, 2016; Non-final
                                                                                    Rejection dated November 22,
                                                                                    2016; Response to Non-Final



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    Rejection filed on May 22, 2017;
                                                                                    Affidavit filed May 22, 2017;
                                                                                    Notice of Allowance dated July 11,
                                                                                    2017; Issue Classification dated
                                                                                    July 11, 2017

                                                                                    Prosecution history of the ʼ478
                                                                                    patent, including Application filed
                                                                                    on May 20, 2015; Preliminary
                                                                                    Amendment filed on June 3, 2015;
                                                                                    Non-final Rejection dated June 8,
                                                                                    2015; Response after Non-final
                                                                                    Rejection dated August 14, 2015;
                                                                                    Affidavit filed on August 14, 2015;
                                                                                    Final Rejection dated October 22,
                                                                                    2015; Response after Final
                                                                                    Rejection dated January 22, 2016;
                                                                                    Affidavit filed on January 22, 2016;
                                                                                    Non-final Rejection dated
                                                                                    February 2, 2016; Response after
                                                                                    Non-Final Rejection dated
                                                                                    March 31, 2016; Affidavit filed on
                                                                                    March 31, 2016; Notice of
                                                                                    Allowance dated May 4, 2016;
                                                                                    Issue Classification dated May 4,
                                                                                    2016

                                                                                    Prosecution history of the ’526
                                                                                    patent, including Application filed



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    on October 10, 2016; Preliminary
                                                                                    Amendment filed on October 10,
                                                                                    2016; Non-final Rejection dated
                                                                                    February 22, 2017; Applicant-
                                                                                    Initiated Interview Summary dated
                                                                                    April 11, 2017; Response after
                                                                                    Non-final Rejection dated May 2,
                                                                                    2017; Affidavit filed May 2, 2017
                                                                                    and signed on March 31, 2016;
                                                                                    Affidavit filed May 2, 2017 and
                                                                                    signed on May 1, 2017; Notice of
                                                                                    Allowance dated May 12, 2017;
                                                                                    Issue Classification dated May 12,
                                                                                    2016

                                                                                    Prosecution history of the ’785
                                                                                    patent, including Application filed
                                                                                    on February 7, 2017; Preliminary
                                                                                    Amendment dated February 7,
                                                                                    2017; Non-final Rejection dated
                                                                                    March 29, 2017; Response after
                                                                                    Non-final Rejection dated June 28,
                                                                                    2017; Applicant-Initiated Interview
                                                                                    Summary dated July 3, 2017;
                                                                                    Notice of Allowance dated July 20,
                                                                                    2017; Issue Classification dated
                                                                                    July 20, 2017




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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    Prosecution history of the ’209
                                                                                    patent, including Application filed
                                                                                    on February 7, 2017; Preliminary
                                                                                    Amendment filed on February 7,
                                                                                    2017; Non-final Rejection dated
                                                                                    March 29, 2017; Response after
                                                                                    Non-final Rejection dated June 28,
                                                                                    2017; Applicant-Initiated Interview
                                                                                    Summary dated July 3, 2017;
                                                                                    Notice of Allowance dated July 11,
                                                                                    2017; Issue Classification dated
                                                                                    July 11, 2017

                                                                                    Prosecution history of the ’223
                                                                                    patent, including Application filed
                                                                                    on May 26, 2017; Preliminary
                                                                                    Amendment filed on May 26, 2017;
                                                                                    Non-final Rejection dated
                                                                                    September 18, 2017; Response to
                                                                                    Non-final Rejection dated
                                                                                    November 27, 2017; Kannan
                                                                                    Affidavit dated November 27,
                                                                                    2017; McIntyre Affidavit dated
                                                                                    November 27, 2017; Notice of
                                                                                    Allowance dated January 17, 2018;
                                                                                    Issue Classification dated
                                                                                    January 17, 2018




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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    T. Treschan et al., The Vasopressin
                                                                                    System Physiology and Clinical
                                                                                    Strategies, Anesthesiology (2006)
                                                                                    105:599-612. (SAND-
                                                                                    VASO00007208-7221)

                                                                                    M.L. Buck, Low-dose Vasopressin
                                                                                    Infusions for Vasodilatory Shock,
                                                                                    Pediatric Pharmacotherapy (2003)
                                                                                    9(9): 1-4. (SAND-
                                                                                    VASO00006921-6924)

                                                                                    J.A. Russell, et al., Vasopressin
                                                                                    Versus Norepinephrine Infusion in
                                                                                    Patients with Septic Shock, New
                                                                                    Eng. J. Med. (2008) 358:877-887
                                                                                    and Supplementary Appendix
                                                                                    (SAND-VASO00007639-7667)

                                                                                    Extrinsic Evidence:

                                                                                    MPEP § 2422 (Nucleotide and/or
                                                                                    Amino Acid Sequence Disclosures
                                                                                    in Patent Applications)

                                                                                    MPEP § 2424 (Requirements for
                                                                                    Nucleotide and/or Amino Acid
                                                                                    Sequences as Part of the
                                                                                    Application Papers)



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction

                                                                                    MPEP § 2429 (Helpful Hints for
                                                                                    Compliance)

                                                                                    K. Adamsons, Jr. et al., The
                                                                                    Stability of Natural and Synthetic
                                                                                    Neurohypophysial Hormones in
                                                                                    Vitro, Endocrinology (1958)
                                                                                    63(5):679-687 (SAND-
                                                                                    VASO00006681-6689)

                                                                                    K.A. Connors, et al., Chemical
                                                                                    Stability of Pharmaceuticals: A
                                                                                    Handbook for Pharmacists 787-90
                                                                                    (2d ed. 1986) (SAND-
                                                                                    VASO00006925-6931)

                                                                                    J.A. Russell, Bench-to-bedside
                                                                                    review: Vasopressin in the
                                                                                    management of septic shock,
                                                                                    Critical Care (2011) 15:226
                                                                                    (SAND-VASO00007179-7197)

                                                                                    United States Pharmacopeial
                                                                                    Convention, Inc., USP Certificate,
                                                                                    Vasopressin, Lot F0G346 (2009)
                                                                                    (SAND-VASO00007222-7223)




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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    United States Pharmacopeial
                                                                                    Convention, Inc., USP Certificate,
                                                                                    Vasopressin, Lot G0J184 (2010)
                                                                                    (SAND-VASO00007224-7225)

                                                                                    United States Pharmacopeial
                                                                                    Convention, Inc., USP Certificate,
                                                                                    Vasopressin, Lot H0L444 (2013)
                                                                                    (SAND-VASO00007228-7230)

                                                                                    United States Pharmacopeial
                                                                                    Convention, Inc., USP38-NF33 –
                                                                                    Vasopressin (2014) (SAND-
                                                                                    VASO00008517-8524)

                                                                                    United States Pharmacopeial
                                                                                    Convention, Inc., Vasopressin
                                                                                    Injection (1990) (SAND-
                                                                                    VASO00007728-7730)

                                                                                    Sandoz may introduce testimony
                                                                                    from one or more experts (e.g.,
                                                                                    Laird Forrest, Michael Maile)
                                                                                    regarding the meaning of
                                                                                    “vasopressin” in the relevant art
                                                                                    and/or how a person of ordinary
                                                                                    skill in the art would have
                                                                                    understood this claim term.




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 Term for        Claims    Par’s Proposed        Par’s Supporting Evidence           Sandoz’s             Sandoz’s Supporting Evidence
Construction                Construction                                             Proposed
                                                                                    Construction

                                                                                                        Sandoz reserves the right to
                                                                                                        introduce rebuttal testimony from
                                                                                                        one or more experts (e.g., Laird
                                                                                                        Forrest, Michael Maile) in response
                                                                                                        to any expert testimony that
                                                                                                        Plaintiffs may introduce.
                                              ’478 Patent                          “Administering to    Intrinsic Evidence:
“administering   ’478      Ordinary
                                              Claim 1; 1:29-41; 5:45-47; 7:28-     the human a unit
to the human a   patent,   meaning, no
                                              51; 8:23-27; 21:29-32, 21:37-49;     dosage form          ’239 patent, claims 1 - 19
unit dosage      claims    construction
                                              22:3-5; 23:20-24                     having the           ’478 patent, claims 1 - 11
form”            1-11      necessary.
                                                                                   properties recited   ’526 patent, claims 1 - 20
                                              ’239 Patent                          in the claim”        ’209 patent, claims 1 - 13
                 ’209      (e.g.
                           administering      Claims 1, 15, 1:30-46; 5:58-60;
                 Patent
                           the claimed unit   7:45-8:2; 8:41-46; 22:18-67;                              The specifications of the patents-in-
                 Claims
                           dosage form to     24:15-19, Table 6                                         suit, including the following
                 1-13
                           the human in                                                                 passages:
                           need of having     ’209 Patent
                           his or her blood                                                             ’478 patent, col. 1, l. 28 - 41; col. 3,
                                              Claim 1; 1:44-59; 6:23-26; 11:48-
                           pressure                                                                     l. 4 - 7; col. 5, l. 45 - 51; col. 7,
                                              12:5; 12:45-46; 45:65-46:3; 60:21-
                           increased)                                                                   l. 28 - 51; col. 8, l. 23 - col. 9, l. 24;
                                              23; 60:31-44; 60:65-67; 62:14-18;
                                                                                                        col. 12, l. 31 - 43; col. 21, l. 21 -
                                              101 (Table 47); 102 (Table 50)
                                                                                                        col. 24, l. 23; col. 24, l. 25 - col. 25,
                                              ’526 Patent                                               l. 3; col. 33, l. 1 - col. 34, l. 24
                                              Claim 1, 16; 1:40-57; 7:6-8;
                                              11:47-12:4; 12:44-45; 36:48-                              ’526 patent, col. 1, l. 40 - 59; col. 3,
                                              45:59; 45:60-64; 59:59-61; 60:3-                          l. 25 - 28; col. 6, l. 23 - 26; col. 7,
                                              16; 60:27-39; 61:54-58; 62:10;                            l. 6 - 8; col. 8, l. 21 - col. 9, l. 63;
                                                                                                        col. 11, l. 47 - col. 12, l. 5; col. 12,
                                                                                                        l. 44 - col. 13, l. 27; col. 13, l. 28 -


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 Term for      Claims   Par’s Proposed      Par’s Supporting Evidence           Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                           Proposed
                                                                               Construction
                                         100 (Table 47); 101 (Table 50);                      col. 47, l. 15; col. 50, l. 35 - 47;
                                         Cols. 13-36.                                         col. 59, l. 20 - col. 62, l. 59;
                                                                                              col. 100, l. 30 - col. 102, l. 13;
                                         ’223 Patent
                                                                                              col. 102, l. 22 - 62; col. 109, l. 63 -
                                         Claims 1, 11, 12; 1:38-54; 7:24-                     col. 112, l. 31
                                         26; 12:48-13:5; 13:45-46; 46:65-
                                         47:3; 50:13-37; 55:30-56:28;                         ’209 patent, col. 1, l. 42 - 59; col. 3,
                                         62:38-40; 62:48-61; 63:16-18;                        l. 25 - 28; col. 6, l. 23 - 30; col. 7,
                                         64:40-44; 103 (Table 47); 104                        l. 61 - col. 9, l. 64; col. 11, l. 48 -
                                         (Table 50)                                           col. 12, l. 5; col. 12, l. 45 - col. 13,
                                                                                              l. 34; col. 13, l. 35 - col. 47, l. 20;
                                         ’239 File History                                    col. 50, l. 44 - 56; col. 60, l. 12 -
                                         Applicant-Initiated Interview                        col. 63, l. 17; col. 101, l. 1 -
                                         Summary (Appl. No. 14/717,977                        col. 102, l. 67; col. 107, l. 44 -
                                         (’239 Patent)) all pages (Sep. 9,                    col. 108, l. 44; col. 115, l. 47 -
                                         2016) – PAR-VASO-0008681-                            col. 118, l. 23
                                         8686.
                                                                                              ’239 patent, col. 1, l. 30 - 46; col. 2,
                                         Response to Final Office Action                      l. 38 - 41; col. 5, l. 58 - 64; col. 7,
                                         (Appl. No. 14/717,877 (’239                          l. 45 - col. 8, l. 2; col. 8, l. 41 - 46;
                                         Patent)) 1-2, 4-5 (Nov. 3, 2016)—                    col. 8, l. 52 - col. 9, l. 61; col. 12,
                                         PAR-VASO-0008701-8705.                               l. 55 - 67; col. 22, l. 18 - col. 25,
                                                                                              l. 13; col. 25, l. 20 - col. 26, l. 28;
                                         Par may also rely on expert
                                                                                              col. 33, l. 30 - col. 35, l. 25
                                         opinion testimony regarding the
                                         administration of vasopressin in
                                                                                              ’785 patent, col. 1, l. 37 - 54; col. 3,
                                         clinical settings and how persons
                                                                                              l. 26 - 29; col. 6, l. 23 - 25; col. 7,
                                         with knowledge thereof would
                                                                                              l. 60 - col. 8, l. 40; col. 8, l. 65 -
                                         understand the administration
                                                                                              col. 9, l. 63; col. 11, l. 47 - 59;
                                         limitations of the patents-in-suit.


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 Term for      Claims   Par’s Proposed      Par’s Supporting Evidence           Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                           Proposed
                                                                               Construction
                                         See, e.g., Declarations of Zlatan                    col. 12, l. 44 - col. 13, l. 33; col. 13,
                                         Coralic, submitted in Par et al. v.                  l. 34 - col. 45, l. 62; col. 50, l. 44 -
                                         Eagle Pharmaceuticals Inc., 1:18-                    56; col. 59, l. 33 - col. 62, l. 50;
                                         cv-00823-CFC, D.I. 64-2 at A-                        col. 105, l. 48 - col. 106, l. 48;
                                         592-606, D.I. 64-3 at A-732-736                      col. 113, l. 50 - col. 116, l. 22
                                         (D.Del.). Par may additionally rely
                                         on expert opinion testimony to                       ’223 patent, col. 1, l. 38 - 54; col. 3,
                                         rebut any expert opinions                            l. 42 - 45; col. 7, l. 24 - 30; col. 8,
                                         proffered by Sandoz on this term.                    l. 61 - col. 9, l. 41; col. 9, l. 66 -
                                                                                              col. 10, l. 64; col. 12, l. 48 - col. 13,
                                         Dellinger RP, Levy MM, Rhodes                        l. 5; col. 13, l. 45 - 46; col. 14, l. 35
                                         A, et al. Surviving Sepsis                           - col. 48, l. 20; col. 50, l. 13 - 37;
                                         Campaign: international guidelines                   col. 52, l. 1 - 13; col. 55, l. 30 -
                                         for management of severe sepsis                      col. 56, l. 28; col. 60, l. 13 - 37;
                                         and septic shock, 2012. Intensive                    col. 62, l. 30 - col. 66, l. 11;
                                         Care Med 2013;39:165-228, at pp.                     col. 103, l. 1 - col. 104, l. 67;
                                         179-183.                                             col. 125, l. 20 - col. 129, l. 13;
                                                                                              col. 129, l. 20 - col. 130, l. 28;
                                         Neumar RW, Otto CW, Link MS,                         col. 137, l. 30 - col. 140, l. 31
                                         et al. Part 8: adult advanced
                                         cardiovascular life support: 2010                    Prosecution history of the ʼ478
                                         American Heart Association                           patent, including Application filed
                                         Guidelines for Cardiopulmonary                       on May 20, 2015; Preliminary
                                         Resuscitation and Emergency                          Amendment filed on June 3, 2015;
                                         Cardiovascular Care. Circulation                     Non-final Rejection dated June 8,
                                         2010; 122:S729-67 at S736, S743.                     2015; Response after Non-final
                                                                                              Rejection dated August 14, 2015;
                                                                                              Affidavit filed on August 14, 2015;
                                                                                              Final Rejection dated October 22,



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    2015; Response after Final
                                                                                    Rejection dated January 22, 2016;
                                                                                    Affidavit filed on January 22, 2016;
                                                                                    Non-final Rejection dated
                                                                                    February 2, 2016; Response after
                                                                                    Non-Final Rejection dated
                                                                                    March 31, 2016; Affidavit filed on
                                                                                    March 31, 2016; Notice of
                                                                                    Allowance dated May 4, 2016;
                                                                                    Issue Classification dated May 4,
                                                                                    2016

                                                                                    Prosecution history of the ’209
                                                                                    patent, including Application filed
                                                                                    on February 7, 2017; Preliminary
                                                                                    Amendment filed on February 7,
                                                                                    2017; Non-final Rejection dated
                                                                                    March 29, 2017; Response after
                                                                                    Non-final Rejection dated June 28,
                                                                                    2017; Applicant-Initiated Interview
                                                                                    Summary dated July 3, 2017;
                                                                                    Notice of Allowance dated July 11,
                                                                                    2017; Issue Classification dated
                                                                                    July 11, 2017

                                                                                    Prosecution history of the ’239
                                                                                    patent, including Application filed
                                                                                    on May 20, 2015; Preliminary
                                                                                    Amendment filed on June 3, 2015;



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    Non-final Rejection dated June 5,
                                                                                    2015; Response after Non-final
                                                                                    Rejection dated August 14, 2015;
                                                                                    Affidavit filed August 14, 2015;
                                                                                    Final Rejection filed October 21,
                                                                                    2015; Response to Final Rejection
                                                                                    filed November 24, 2015; Non-
                                                                                    Final Rejection dated January 11,
                                                                                    2016; Examiner Initiated Interview
                                                                                    Summary dated March 17, 2016;
                                                                                    Applicant-Initiated Interview
                                                                                    Summary dated March 17, 2016;
                                                                                    Response to Non-Final Rejection
                                                                                    filed on March 17, 2016; Affidavit
                                                                                    filed March 17, 2016; Final
                                                                                    Rejection filed May 12, 2016;
                                                                                    Applicant-Initiated Interview
                                                                                    Summary dated September 9, 2016;
                                                                                    Response after Final Rejection filed
                                                                                    on November 3, 2016; Non-final
                                                                                    Rejection dated November 22,
                                                                                    2016; Response to Non-Final
                                                                                    Rejection filed on May 22, 2017;
                                                                                    Affidavit filed May 22, 2017;
                                                                                    Notice of Allowance dated July 11,
                                                                                    2017; Issue Classification dated
                                                                                    July 11, 2017




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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    T. Treschan et al., The Vasopressin
                                                                                    System Physiology and Clinical
                                                                                    Strategies, Anesthesiology (2006)
                                                                                    105:599-612. (SAND-
                                                                                    VASO00007208-7221)

                                                                                    Pharmaceutical Partners of Canada
                                                                                    Inc., Vasopressin Injection, USP,
                                                                                    June 2009. (SAND-
                                                                                    VASO00007111)

                                                                                    Extrinsic Evidence:

                                                                                    Sandoz may introduce testimony
                                                                                    from one or more experts (e.g.,
                                                                                    Laird Forrest, Michael Maile)
                                                                                    regarding peptide formulation, the
                                                                                    administration of vasopressin in
                                                                                    clinical settings, and/or how a
                                                                                    person of ordinary skill in the art
                                                                                    would have understood this claim
                                                                                    term, namely that a person of
                                                                                    ordinary skill would have
                                                                                    understood the term to require
                                                                                    “administering to the human a unit
                                                                                    dosage form having the properties
                                                                                    recited in the claim.”




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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    Sandoz may introduce rebuttal
                                                                                    testimony from one or more experts
                                                                                    (e.g., Laird Forrest, Michael Maile)
                                                                                    regarding peptide formulation, the
                                                                                    administration of vasopressin in
                                                                                    clinical settings, and/or how a
                                                                                    person of ordinary skill in the art
                                                                                    would have understood this claim
                                                                                    term, namely that a person of
                                                                                    ordinary skill would have not have
                                                                                    understood the term in the manner
                                                                                    proposed by Plaintiffs.

                                                                                    R. P. Dellinger et al., Surviving
                                                                                    Sepsis Campaign: international
                                                                                    guidelines for management of
                                                                                    severe sepsis and septic shock,
                                                                                    2012. Intensive Care Med
                                                                                    2013;39:165-228, at pp. 179-
                                                                                    183.

                                                                                    R.W. Neumar, et al. Part 8: adult
                                                                                    advanced cardiovascular life
                                                                                    support: 2010 American Heart
                                                                                    Association Guidelines for
                                                                                    Cardiopulmonary Resuscitation and
                                                                                    Emergency Cardiovascular Care.
                                                                                    Circulation 2010; 122:S729-67 at
                                                                                    S736, S743.



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 Term for        Claims     Par’s Proposed        Par’s Supporting Evidence            Sandoz’s             Sandoz’s Supporting Evidence
Construction                 Construction                                              Proposed
                                                                                      Construction

                                                                                                          CareFusion, User Manual, AlarisTM
                                                                                                          System, e.g., 2-108 to 2-114
                                                                                                          (November 2014).

                                                                                                          Smiths Medical, Medfusion®
                                                                                                          Syringe Pump, Model 3500,
                                                                                                          Operator’s Manual, e.g., 122-125,
                                                                                                          128-130 (2013).

                                                                                                          E. Fulcher et al., Introduction to
                                                                                                          Intravenous Therapy for Health
                                                                                                          Professionals (1st ed. 2007)

                                                ’478 Patent                         “Intravenously        Intrinsic Evidence:
“intravenously   ’526       Ordinary
                                               Claim 1; 1:29-41; 5:45-47; 7:28-     administering the
administering    patent,    meaning, no
                                               51; 8:23-27; 21:29-32, 21:37-49;     pharmaceutical        ’239 patent, claims 1 - 19
the              claims     construction
                                               22:3-5; 23:20-24                     composition           ’478 patent, claims 1 - 11
pharmaceutical   1-15, 20   necessary
                                                                                    having the            ’526 patent, claims 1 - 20
composition to
                                               ’239 Patent                          properties recited    ’209 patent, claims 1 - 13
the human”                  (e.g.
                            administering      Claims 1, 15, 1:30-46; 5:58-60;      in the claim to the
                            the provided       7:45-8:2; 8:41-46; 22:18-67;         human”                The specifications of the patents-in-
                            pharmaceutical     24:15-19, Table 6                                          suit, including the following
                            composition                                                                   passages:
                            into a vein of     ’209 Patent
                            the human in                                                                  ’478 patent, col. 1, l. 28 - 41; col. 3,
                                               Claim 1; 1:44-59; 6:23-26; 11:48-
                            need of having                                                                l. 4 - 7; col. 5, l. 45 - 51; col. 7,
                                               12:5; 12:45-46; 45:65-46:3; 60:21-
                            his or her blood   23; 60:31-44; 60:65-67; 62:14-18;                          l. 28 - 51; col. 8, l. 23 - col. 9, l. 24;
                                                                                                          col. 12, l. 31 - 43; col. 21, l. 21 -
                                               101 (Table 47); 102 (Table 50)


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 Term for      Claims   Par’s Proposed      Par’s Supporting Evidence         Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                         Proposed
                                                                             Construction
                        pressure                                                            col. 24, l. 23; col. 24, l. 25 - col. 25,
                                         ’526 Patent
                        increased)                                                          l. 3; col. 33, l. 1 - col. 34, l. 24
                                         Claim 1, 16; 1:40-57; 7:6-8;
                                         11:47-12:4; 12:44-45; 36:48-
                                                                                            ’526 patent, col. 1, l. 40 - 59; col. 3,
                                         45:59; 45:60-64; 59:59-61; 60:3-
                                                                                            l. 25 - 28; col. 6, l. 23 - 26; col. 7,
                                         16; 60:27-39; 61:54-58; 62:10;
                                                                                            l. 6 - 8; col. 8, l. 21 - col. 9, l. 63;
                                         100 (Table 47); 101 (Table 50);
                                                                                            col. 11, l. 47 - col. 12, l. 5; col. 12,
                                         Cols. 13-36
                                                                                            l. 44 - col. 13, l. 27; col. 13, l. 28 -
                                         ’223 Patent                                        col. 47, l. 15; col. 50, l. 35 - 47;
                                         Claims 1, 11, 12; 1:38-54; 7:24-                   col. 59, l. 20 - col. 62, l. 59;
                                         26; 12:48-13:5; 13:45-46; 46:65-                   col. 100, l. 30 - - col. 102, l. 13;
                                         47:3; 50:13-37; 55:30-56:28;                       col. 102, l. 22 - 62; col. 109, l. 63 -
                                         62:38-40; 62:48-61; 63:16-18;                      col. 112, l. 31
                                         64:40-44; 103 (Table 47); 104
                                         (Table 50)                                         ’209 patent, col. 1, l. 42 - 59; col. 3,
                                                                                            l. 25 - 28; col. 6, l. 23 - 30; col. 7,
                                         ’239 File History                                  l. 61 - col. 9, l. 64; col. 11, l. 48 -
                                         Applicant-Initiated Interview                      col. 12, l. 5; col. 12, l. 45 - col. 13,
                                         Summary (Appl. No. 14/717,977                      l. 34; col. 13, l. 35 - col. 47, l. 20;
                                         (’239 Patent)) all pages (Sep. 9,                  col. 50, l. 44 - 56; col. 60, l. 12 -
                                         2016) – PAR-VASO-0008681-                          col. 63, l. 17; col. 101, l. 1 -
                                         8686.                                              col. 102, l. 67; col. 107, l. 44 -
                                                                                            col. 108, l. 44; col. 115, l. 47 -
                                         Response to Final Office Action                    col. 118, l. 23
                                         (Appl. No. 14/717,877 (’239
                                         Patent)) 1-2, 4-5 (Nov. 3, 2016)—                  ’239 patent, col. 1, l. 30 - 46; col. 2,
                                         PAR-VASO-0008701-8705.                             l. 38 - 41; col. 5, l. 58 - 64; col. 7,
                                                                                            l. 45 - col. 8, l. 2; col. 8, l. 41 - 46;
                                         Par may also rely on expert                        col. 8, l. 52 - col. 9, l. 61; col. 12,
                                         opinion testimony regarding the


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 Term for      Claims   Par’s Proposed      Par’s Supporting Evidence           Sandoz’s        Sandoz’s Supporting Evidence
Construction             Construction                                           Proposed
                                                                               Construction
                                         administration of vasopressin in                     l. 55 - 67; col. 22, l. 18 - col. 25,
                                         clinical settings and how persons                    l. 13; col. 25, l. 20 - col. 26, l. 28;
                                         with knowledge thereof would                         col. 33, l. 30 - col. 35, l. 25
                                         understand the administration
                                         limitations of the patents-in-suit.                  ’785 patent, col. 1, l. 37 - 54; col. 3,
                                         See, e.g., Declarations of Zlatan                    l. 26 - 29; col. 6, l. 23 - 25; col. 7,
                                         Coralic, submitted in Par et al. v.                  l. 60 - col. 8, l. 40; col. 8, l. 65 -
                                         Eagle Pharmaceuticals Inc., 1:18-                    col. 9, l. 63; col. 11, l. 47 - 59;
                                         cv-00823-CFC, D.I. 64-2 at A-                        col. 12, l. 44 - col. 13, l. 33; col. 13,
                                         592-606, D.I. 64-3 at A-732-736                      l. 34 - col. 45, l. 62; col. 50, l. 44 -
                                         (D.Del.). Par may additionally                       56; col. 59, l. 33 - col. 62, l. 50;
                                         rely on expert opinion testimony                     col. 105, l. 48 - col. 106, l. 48;
                                         to rebut any expert opinions                         col. 113, l. 50 - col. 116, l. 22
                                         proffered by Sandoz on this term.
                                                                                              ’223 patent, col. 1, l. 38 - 54; col. 3,
                                         Dellinger RP, Levy MM, Rhodes                        l. 42 - 45; col. 7, l. 24 - 30; col. 8,
                                         A, et al. Surviving Sepsis                           l. 61 - col. 9, l. 41; col. 9, l. 66 -
                                         Campaign: international guidelines                   col. 10, l. 64; col. 12, l. 48 - col. 13,
                                         for management of severe sepsis                      l. 5; col. 13, l. 45 - 46; col. 14, l. 35
                                         and septic shock, 2012. Intensive                    - col. 48, l. 20; col. 50, l. 13 - 37;
                                         Care Med 2013;39:165-228, at pp.                     col. 52, l. 1 - 13; col. 55, l. 30 -
                                         179-183.                                             col. 56, l. 28; col. 60, l. 13 - 37;
                                                                                              col. 62, l. 30 - col. 66, l. 11;
                                         Neumar RW, Otto CW, Link MS,                         col. 103, l. 1 - col. 104, l. 67;
                                         et al. Part 8: adult advanced                        col. 125, l. 20 - col. 129, l. 13;
                                         cardiovascular life support: 2010                    col. 129, l. 20 - col. 130, l. 28;
                                         American Heart Association                           col. 137, l. 30 - col. 140, l. 31
                                         Guidelines for Cardiopulmonary
                                         Resuscitation and Emergency



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 Term for      Claims   Par’s Proposed     Par’s Supporting Evidence         Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                        Proposed
                                                                            Construction
                                         Cardiovascular Care. Circulation                  Prosecution history of the ’526
                                         2010; 122:S729-67 at S736, S743.                  patent, including Application filed
                                                                                           on October 10, 2016; Preliminary
                                                                                           Amendment filed on October 10,
                                                                                           2016; Non-final Rejection dated
                                                                                           February 22, 2017; Applicant-
                                                                                           Initiated Interview Summary dated
                                                                                           April 11, 2017; Response after
                                                                                           Non-final Rejection dated May 2,
                                                                                           2017; Affidavit filed May 2, 2017
                                                                                           and signed on March 31, 2016;
                                                                                           Affidavit filed May 2, 2017 and
                                                                                           signed on May 1, 2017; Notice of
                                                                                           Allowance dated May 12, 2017;
                                                                                           Issue Classification dated May 12,
                                                                                           2016

                                                                                           Prosecution history of the ’239
                                                                                           patent, including Application filed
                                                                                           on May 20, 2015; Preliminary
                                                                                           Amendment filed on June 3, 2015;
                                                                                           Non-final Rejection dated June 5,
                                                                                           2015; Response after Non-final
                                                                                           Rejection dated August 14, 2015;
                                                                                           Affidavit filed August 14, 2015;
                                                                                           Final Rejection filed October 21,
                                                                                           2015; Response to Final Rejection
                                                                                           filed November 24, 2015; Non-
                                                                                           Final Rejection dated January 11,



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    2016; Examiner Initiated Interview
                                                                                    Summary dated March 17, 2016;
                                                                                    Applicant-Initiated Interview
                                                                                    Summary dated March 17, 2016;
                                                                                    Response to Non-Final Rejection
                                                                                    filed on March 17, 2016; Affidavit
                                                                                    filed March 17, 2016; Final
                                                                                    Rejection filed May 12, 2016;
                                                                                    Applicant-Initiated Interview
                                                                                    Summary dated September 9, 2016;
                                                                                    Response after Final Rejection filed
                                                                                    on November 3, 2016; Non-final
                                                                                    Rejection dated November 22,
                                                                                    2016; Response to Non-Final
                                                                                    Rejection filed on May 22, 2017;
                                                                                    Affidavit filed May 22, 2017;
                                                                                    Notice of Allowance dated July 11,
                                                                                    2017; Issue Classification dated
                                                                                    July 11, 2017

                                                                                    Prosecution history of the ʼ223
                                                                                    patent, including Application filed
                                                                                    on May 26, 2017; Preliminary
                                                                                    Amendment filed on May 26, 2017;
                                                                                    Non-final Rejection dated
                                                                                    September 18, 2017; Response to
                                                                                    Non-final Rejection dated
                                                                                    November 27, 2017; Kannan
                                                                                    Affidavit dated November 27,



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    2017; McIntyre Affidavit dated
                                                                                    November 27, 2017; Notice of
                                                                                    Allowance dated January 17, 2018;
                                                                                    Issue Classification dated
                                                                                    January 17, 2018

                                                                                    T. Treschan et al., The Vasopressin
                                                                                    System Physiology and Clinical
                                                                                    Strategies, Anesthesiology (2006)
                                                                                    105:599-612. (SAND-
                                                                                    VASO00007208-7221)

                                                                                    Pharmaceutical Partners of Canada
                                                                                    Inc., Vasopressin Injection, USP,
                                                                                    June 2009. (SAND-
                                                                                    VASO00007111)

                                                                                    Extrinsic Evidence:

                                                                                    Sandoz may introduce testimony
                                                                                    from one or more experts (e.g.,
                                                                                    Laird Forrest, Michael Maile)
                                                                                    regarding peptide formulation, the
                                                                                    administration of vasopressin in
                                                                                    clinical settings, and/or how a
                                                                                    person of ordinary skill in the art
                                                                                    would have understood this claim
                                                                                    term, namely that a person of
                                                                                    ordinary skill would have



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    understood the term to require
                                                                                    “intravenously administering the
                                                                                    pharmaceutical composition having
                                                                                    the properties recited in the claim to
                                                                                    the human.”

                                                                                    Sandoz may introduce rebuttal
                                                                                    testimony from one or more experts
                                                                                    (e.g., Laird Forrest, Michael Maile)
                                                                                    regarding peptide formulation, the
                                                                                    administration of vasopressin in
                                                                                    clinical settings, and/or how a
                                                                                    person of ordinary skill in the art
                                                                                    would have understood this claim
                                                                                    term, namely that a person of
                                                                                    ordinary skill would have not have
                                                                                    understood the term in the manner
                                                                                    proposed by Plaintiffs.

                                                                                    R. P. Dellinger et al., Surviving
                                                                                    Sepsis Campaign: international
                                                                                    guidelines for management of
                                                                                    severe sepsis and septic shock,
                                                                                    2012. Intensive Care Med
                                                                                    2013;39:165-228, at pp. 179-183.

                                                                                    R.W. Neumar, et al. Part 8: adult
                                                                                    advanced cardiovascular life
                                                                                    support: 2010 American Heart



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 Term for          Claims    Par’s Proposed      Par’s Supporting Evidence          Sandoz’s            Sandoz’s Supporting Evidence
Construction                  Construction                                          Proposed
                                                                                   Construction
                                                                                                       Association Guidelines for
                                                                                                       Cardiopulmonary Resuscitation and
                                                                                                       Emergency Cardiovascular Care.
                                                                                                       Circulation 2010; 122:S729-67 at
                                                                                                       S736, S743.

                                                                                                       CareFusion, User Manual, AlarisTM
                                                                                                       System, e.g., 2-108 to 2-114
                                                                                                       (November 2014).

                                                                                                       Smiths Medical, Medfusion®
                                                                                                       Syringe Pump, Model 3500,
                                                                                                       Operator’s Manual, e.g., 122-125,
                                                                                                       128-130 (2013).

                                                                                                       E. Fulcher et al., Introduction to
                                                                                                       Intravenous Therapy for Health
                                                                                                       Professionals (1st ed. 2007)

                                              ’478 Patent                        “Administering        Intrinsic Evidence:
“administering     ’239      Ordinary
                                              Claim 1; 1:29-41; 5:45-47; 7:28-   the diluted unit
the diluted unit   patent,   meaning, no
                                              51; 8:23-27; 21:29-32, 21:37-49;   dosage form           ’239 patent, claims 1 - 19
dosage form to     claims    construction
                                              22:3-5; 23:20-24                   having the            ’478 patent, claims 1 - 11
the human by       1-19      necessary
                                                                                 properties recited    ’526 patent, claims 1 - 20
intravenous
                             (e.g.            ’239 Patent                        in the claim to the   ’209 patent, claims 1 - 13
administration”
                             administering    Claims 1, 15, 1:30-46; 5:58-60;    human by
                             the provided     7:45-8:2; 8:41-46; 22:18-67;       intravenous           The specifications of the patents-in-
                             unit dosage      24:15-19, Table 6                  administration”       suit, including the following
                             form in its                                                               passages:



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 Term for      Claims   Par’s Proposed        Par’s Supporting Evidence          Sandoz’s        Sandoz’s Supporting Evidence
Construction             Construction                                            Proposed
                                                                                Construction
                        diluted form       ’209 Patent
                        into a vein of                                                         ’478 patent, col. 1, l. 28 - 41; col. 3,
                                           Claim 1; 1:44-59; 6:23-26; 11:48-
                        the human in                                                           l. 4 - 7; col. 5, l. 45 - 51; col. 7,
                                           12:5; 12:45-46; 45:65-46:3; 60:21-
                        need of having                                                         l. 28 - 51; col. 8, l. 23 - col. 9, l. 24;
                                           23; 60:31-44; 60:65-67; 62:14-18;
                        his or her blood                                                       col. 12, l. 31 - 43; col. 21, l. 21 -
                                           101 (Table 47); 102 (Table 50)
                        pressure                                                               col. 24, l. 23; col. 24, l. 25 - col. 25,
                        increased)         ’526 Patent                                         l. 3; col. 33, l. 1 - col. 34, l. 24
                                           Claim 1, 16; 1:40-57; 7:6-8;
                                           11:47-12:4; 12:44-45; 36:48-                        ’526 patent, col. 1, l. 40 - 59; col. 3,
                                           45:59; 45:60-64; 59:59-61; 60:3-                    l. 25 - 28; col. 6, l. 23 - 26; col. 7,
                                           16; 60:27-39; 61:54-58; 62:10;                      l. 6 - 8; col. 8, l. 21 - col. 9, l. 63;
                                           100 (Table 47); 101 (Table 50);                     col. 11, l. 47 - col. 12, l. 5; col. 12,
                                           Cols. 13-36                                         l. 44 - col. 13, l. 27; col. 13, l. 28 -
                                                                                               col. 47, l. 15; col. 50, l. 35 - 47;
                                           ’223 Patent                                         col. 59, l. 57 - col. 62, l. 59;
                                           Claims 1, 11, 12; 1:38-54; 7:24-                    col. 100, l. 30 - col. 102, l. 13;
                                           26; 12:48-13:5; 13:45-46; 46:65-                    col. 102, l. 22 - 62; col. 109, l. 63 -
                                           47:3; 50:13-37; 55:30-56:28;                        col. 112, l. 31
                                           62:38-40; 62:48-61; 63:16-18;
                                           64:40-44; 103 (Table 47); 104                       ’209 patent, col. 1, l. 42 - 59; col. 3,
                                           (Table 50)                                          l. 25 - 28; col. 6, l. 23 - 30; col. 7,
                                                                                               l. 61 - col. 9, l. 64; col. 11, l. 48 -
                                           ’239 File History                                   col. 12, l. 5; col. 12, l. 45 - col. 13,
                                           Applicant-Initiated Interview                       l. 34; col. 13, l. 35 - col. 47, l. 20;
                                           Summary (Appl. No. 14/717,977                       col. 50, l. 44 - 56; col. 60, l. 12 -
                                           (’239 Patent)) all pages (Sep. 9,                   col. 63, l. 17; col. 101, l. 1 -
                                           2016) – PAR-VASO-0008681-                           col. 102, l. 67; col. 107, l. 44 -
                                           8686.                                               col. 108, l. 44; col. 115, l. 47 -
                                                                                               col. 118, l. 23



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 Term for      Claims   Par’s Proposed      Par’s Supporting Evidence           Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                           Proposed
                                                                               Construction
                                         Response to Final Office Action
                                         (Appl. No. 14/717,877 (’239                          ’239 patent, col. 1, l. 30 - 46; col. 2,
                                         Patent)) 1-2, 4-5 (Nov. 3, 2016)—                    l. 38 - 41; col. 5, l. 58 - 64; col. 7,
                                         PAR-VASO-0008701-8705.                               l. 45 - col. 8, l. 2; col. 8, l. 41 - 46;
                                                                                              col. 8, l. 52 - col. 9, l. 61; col. 12,
                                         Par may also rely on expert
                                                                                              l. 55 - 67; col. 22, l. 18 - col. 25,
                                         opinion testimony regarding the
                                                                                              l. 13; col. 25, l. 20 - col. 26, l. 28;
                                         administration of vasopressin in
                                                                                              col. 33, l. 30 - col. 35, l. 25
                                         clinical settings and how persons
                                         with knowledge thereof would
                                                                                              ’785 patent, col. 1, l. 37 - 54; col. 3,
                                         understand the administration
                                                                                              l. 26 - 29; col. 6, l. 23 - 25; col. 7,
                                         limitations of the patents-in-suit.
                                                                                              l. 60 - col. 8, l. 40; col. 8, l. 65 -
                                         See, e.g., Declarations of Zlatan
                                                                                              col. 9, l. 63; col. 11, l. 47 - 59;
                                         Coralic, submitted in Par et al. v.
                                                                                              col. 12, l. 44 - col. 13, l. 33; col. 13,
                                         Eagle Pharmaceuticals Inc., 1:18-
                                                                                              l. 34 - col. 45, l. 62; col. 50, l. 44 -
                                         cv-00823-CFC, D.I. 64-2 at A-
                                                                                              56; col. 59, l. 33 - col. 62, l. 50;
                                         592-606, D.I. 64-3 at A-732-736
                                                                                              col. 105, l. 48 - col. 106, l. 48;
                                         (D.Del.). Par may additionally
                                                                                              col. 113, l. 50 - col. 116, l. 22
                                         rely on expert opinion testimony
                                         to rebut any expert opinions
                                                                                              ’223 patent, col. 1, l. 38 - 54; col. 3,
                                         proffered by Sandoz on this term.
                                                                                              l. 42 - 45; col. 7, l. 24 - 30; col. 8,
                                         Dellinger RP, Levy MM, Rhodes                        l. 61 - col. 9, l. 41; col. 9, l. 66 -
                                         A, et al. Surviving Sepsis                           col. 10, l. 64; col. 12, l. 48 - col. 13,
                                         Campaign: international guidelines                   l. 5; col. 13, l. 45 - 46; col. 14, l. 35
                                         for management of severe sepsis                      - col. 48, l. 20; col. 50, l. 13 - 37;
                                         and septic shock, 2012. Intensive                    col. 52, l. 1 - 13; col. 55, l. 30 -
                                         Care Med 2013;39:165-228, at pp.                     col. 56, l. 28; col. 60, l. 13 - 37;
                                         179-183.                                             col. 62, l. 30 - col. 66, l. 11;
                                                                                              col. 103, l. 1 - col. 104, l. 67;



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 Term for      Claims   Par’s Proposed      Par’s Supporting Evidence         Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                         Proposed
                                                                             Construction
                                                                                            col. 125, l. 20 - col. 129, l. 13;
                                         Neumar RW, Otto CW, Link MS,
                                                                                            col. 129, l. 20 - col. 130, l. 28;
                                         et al. Part 8: adult advanced
                                                                                            col. 137, l. 30 - col. 140, l. 31
                                         cardiovascular life support: 2010
                                         American Heart Association
                                                                                            Prosecution history of the ʼ239
                                         Guidelines for Cardiopulmonary
                                                                                            patent, including Application filed
                                         Resuscitation and Emergency
                                                                                            on May 20, 2015; Preliminary
                                         Cardiovascular Care. Circulation
                                                                                            Amendment filed on June 3, 2015;
                                         2010; 122:S729-67 at S736, S743.
                                                                                            Non-final Rejection dated June 5,
                                                                                            2015; Response after Non-final
                                                                                            Rejection dated August 14, 2015;
                                                                                            Affidavit filed August 14, 2015;
                                                                                            Final Rejection filed October 21,
                                                                                            2015; Response to Final Rejection
                                                                                            filed November 24, 2015; Non-
                                                                                            Final Rejection dated January 11,
                                                                                            2016; Examiner Initiated Interview
                                                                                            Summary dated March 17, 2016;
                                                                                            Applicant-Initiated Interview
                                                                                            Summary dated March 17, 2016;
                                                                                            Response to Non-Final Rejection
                                                                                            filed on March 17, 2016; Affidavit
                                                                                            filed March 17, 2016; Final
                                                                                            Rejection filed May 12, 2016;
                                                                                            Applicant-Initiated Interview
                                                                                            Summary dated September 9, 2016;
                                                                                            Response after Final Rejection filed
                                                                                            on November 3, 2016; Non-final
                                                                                            Rejection dated November 22,



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    2016; Response to Non-Final
                                                                                    Rejection filed on May 22, 2017;
                                                                                    Affidavit filed May 22, 2017;
                                                                                    Notice of Allowance dated July 11,
                                                                                    2017; Issue Classification dated
                                                                                    July 11, 2017

                                                                                    T. Treschan et al., The Vasopressin
                                                                                    System Physiology and Clinical
                                                                                    Strategies, Anesthesiology (2006)
                                                                                    105:599-612. (SAND-
                                                                                    VASO00007208-7221)

                                                                                    Pharmaceutical Partners of Canada
                                                                                    Inc., Vasopressin Injection, USP,
                                                                                    June 2009. (SAND-
                                                                                    VASO00007111)

                                                                                    Extrinsic Evidence:

                                                                                    Sandoz may introduce testimony
                                                                                    from one or more experts (e.g.,
                                                                                    Laird Forrest, Michael Maile)
                                                                                    regarding peptide formulation, the
                                                                                    administration of vasopressin in
                                                                                    clinical settings, and/or how a
                                                                                    person of ordinary skill in the art
                                                                                    would have understood this claim
                                                                                    term, namely that a person of



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    ordinary skill would have
                                                                                    understood the term to require
                                                                                    “administering the diluted unit
                                                                                    dosage form having the properties
                                                                                    recited in the claim to the human by
                                                                                    intravenous administration.”

                                                                                    Sandoz may introduce rebuttal
                                                                                    testimony from one or more experts
                                                                                    (e.g., Laird Forrest, Michael Maile)
                                                                                    regarding peptide formulation, the
                                                                                    administration of vasopressin in
                                                                                    clinical settings, and/or how a
                                                                                    person of ordinary skill in the art
                                                                                    would have understood this claim
                                                                                    term, namely that a person of
                                                                                    ordinary skill would have not have
                                                                                    understood the term in the manner
                                                                                    proposed by Plaintiffs.

                                                                                    R. P. Dellinger et al., Surviving
                                                                                    Sepsis Campaign: international
                                                                                    guidelines for management of
                                                                                    severe sepsis and septic shock,
                                                                                    2012. Intensive Care Med
                                                                                    2013;39:165-228, at pp. 179-183.

                                                                                    R.W. Neumar, et al. Part 8: adult
                                                                                    advanced cardiovascular life



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 Term for         Claims    Par’s Proposed      Par’s Supporting Evidence           Sandoz’s           Sandoz’s Supporting Evidence
Construction                 Construction                                           Proposed
                                                                                   Construction
                                                                                                      support: 2010 American Heart
                                                                                                      Association Guidelines for
                                                                                                      Cardiopulmonary Resuscitation and
                                                                                                      Emergency Cardiovascular Care.
                                                                                                      Circulation 2010; 122:S729-67 at
                                                                                                      S736, S743.

                                                                                                      CareFusion, User Manual, AlarisTM
                                                                                                      System, e.g., 2-108 to 2-114
                                                                                                      (November 2014).

                                                                                                      Smiths Medical, Medfusion®
                                                                                                      Syringe Pump, Model 3500,
                                                                                                      Operator’s Manual, e.g., 122-125,
                                                                                                      128-130 (2013).

                                                                                                      E. Fulcher et al., Introduction to
                                                                                                      Intravenous Therapy for Health
                                                                                                      Professionals (1st ed. 2007)

                                             ’223 Patent                         “Intravenously       Intrinsic Evidence:
“intravenously    ’223      Ordinary
                                             Claims 1, 11, 12; 1:38- 54; 7:24-   administering the
administering     patent,   meaning, no
                                             26; 12:48-13:5; 13:45-46; 46:65-    portion[/second      ’239 patent, claims 1 - 19
the               claims    construction
                                             47:3; 50:13-37; 55:30-56:28;        portion] of the      ’478 patent, claims 1 - 11
portion[/second   1-11      necessary
                                             62:38-40; 62:48-61; 63:16-18;       pharmaceutical       ’526 patent, claims 1 - 20
portion] of the
                            (e.g.            64:40-44; 103 (Table 47); 104       composition          ’209 patent, claims 1 - 13
pharmaceutical
                            administering    (Table 50)                          having the           ’223 patent, claims 1 - 18
composition to
the human”                  the recited                                          properties recited
                            portion of the   ’478 Patent



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 Term for      Claims   Par’s Proposed        Par’s Supporting Evidence            Sandoz’s             Sandoz’s Supporting Evidence
Construction             Construction                                              Proposed
                                                                                  Construction
                        provided           Claim 1; 1:29-41; 5:45-47; 7:28-     in the claim to the   The specifications of the patents-in-
                        pharmaceutical     51; 8:23-27; 21:29-32, 21:37-49;     human”                suit, including the following
                        composition        22:3-5; 23:20-24                                           passages:
                        into a vein of
                        the human in       ’239 Patent                                                ’478 patent, col. 1, l. 28 - 41; col. 3,
                        need of having     Claims 1, 15, 1:30-46; 5:58-60;                            l. 4 - 7; col. 5, l. 45 - 51; col. 7,
                        his or her blood   7:45-8:2; 8:41-46; 22:18-67;                               l. 28 - 51; col. 8, l. 23 - col. 9, l. 24;
                        pressure           24:15-19, Table 6                                          col. 12, l. 31 - 43; col. 21, l. 21 -
                        increased)                                                                    col. 24, l. 23; col. 24, l. 25 - col. 25,
                                           ’209 Patent                                                l. 3; col. 33, l. 1 - col. 34, l. 24
                                           Claim 1; 1:44-59; 6:23-26; 11:48-
                                                                                                      ʼ526 patent, col. 1, l. 40 - 59; col. 3,
                                           12:5; 12:45-46; 45:65-46:3; 60:21-
                                                                                                      l. 25 - 28; col. 6, l. 23 - 26; col. 7,
                                           23; 60:31-44; 60:65-67; 62:14-18;
                                                                                                      l. 6 - 8; col. 8, l. 21 - col. 9, l. 63;
                                           101 (Table 47); 102 (Table 50)
                                                                                                      col. 11, l. 47 - col. 12, l. 5; col. 12,
                                           ’526 Patent                                                l. 44 - col. 13, l. 27; col. 13, l. 28 -
                                           Claim 1, 16; 1:40-57; 7:6-8;                               col. 47, l. 15; col. 59, l. 57 - col. 62,
                                           11:47-12:4; 12:44-45; 36:48-                               l. 59; col. 100, l. 30 - col. 102, l. 13;
                                           45:59; 45:60-64; 59:59-61; 60:3-                           col. 102, l. 22 - 62; col. 109, l. 63 -
                                           16; 60:27-39; 61:54-58; 62:10;                             col. 112, l. 31
                                           100 (Table 47); 101 (Table 50);
                                           Cols. 13-36.                                               ’209 patent, col. 1, l. 42 - 59; col. 3,
                                                                                                      l. 25 - 28; col. 6, l. 23 - 30; col. 7,
                                           ’239 File History                                          l. 61 - col. 9, l. 64; col. 11, l. 48 -
                                           Applicant-Initiated Interview                              col. 12, l. 5; col. 12, l. 45 - col. 13,
                                           Summary (Appl. No. 14/717,977                              l. 34; col. 13, l. 35 - col. 47, l. 20;
                                           (’239 Patent)) all pages (Sep. 9,                          col. 50, l. 44 - 56; col. 60, l. 12 -
                                           2016) – PAR-VASO-0008681-                                  col. 63, l. 17; col. 101, l. 1 -
                                           8686.                                                      col. 102, l. 67; col. 107, l. 44 -



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 Term for      Claims   Par’s Proposed      Par’s Supporting Evidence           Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                           Proposed
                                                                               Construction
                                                                                              col. 108, l. 44; col. 115, l. 47 -
                                         Response to Final Office Action
                                                                                              col. 118, l. 23
                                         (Appl. No. 14/717,877 (’239
                                         Patent)) 1-2, 4-5 (Nov. 3, 2016)—
                                                                                              ’239 patent, col. 1, l. 30 - 46; col. 2,
                                         PAR-VASO-0008701-8705.
                                                                                              l. 38 - 41; col. 5, l. 58 - 64; col. 7,
                                         Par may also rely on expert                          l. 45 - col. 8, l. 2; col. 8, l. 41 - 46;
                                         opinion testimony regarding the                      col. 8, l. 52 - col. 9, l. 61; col. 12,
                                         administration of vasopressin in                     l. 55 - 67; col. 22, l. 18 - col. 25,
                                         clinical settings and how persons                    l. 13; col. 25, l. 20 - col. 26, l. 28;
                                         with knowledge thereof would                         col. 33, l. 30 - col. 35, l. 25
                                         understand the administration
                                         limitations of the patents-in-suit.                  ’785 patent, col. 1, l. 37 - 54; col. 3,
                                         See, e.g., Declarations of Zlatan                    l. 26 - 29; col. 6, l. 23 - 25; col. 7,
                                         Coralic, submitted in Par et al. v.                  l. 60 - col. 8, l. 40; col. 8, l. 65 -
                                         Eagle Pharmaceuticals Inc., 1:18-                    col. 9, l. 63; col. 11, l. 47 - 59;
                                         cv-00823-CFC, D.I. 64-2 at A-                        col. 12, l. 44 - col. 13, l. 33; col. 13,
                                         592-606, D.I. 64-3 at A-732-736                      l. 34 - col. 45, l. 62; col. 50, l. 44 -
                                         (D.Del.). Par may additionally rely                  56; col. 59, l. 33 - col. 62, l. 50;
                                         on expert opinion testimony to                       col. 105, l. 48 - col. 106, l. 48;
                                         rebut any expert opinions                            col. 113, l. 50 - col. 116, l. 22
                                         proffered by Sandoz on this term.
                                                                                              ’223 patent, col. 1, l. 38 - 54; col. 3,
                                         Dellinger RP, Levy MM, Rhodes                        l. 42 - 45; col. 7, l. 24 - 30; col. 8,
                                         A, et al. Surviving Sepsis                           l. 61 - col. 9, l. 41; col. 9, l. 66 -
                                         Campaign: international guidelines                   col. 10, l. 64; col. 12, l. 48 - col. 13,
                                         for management of severe sepsis                      l. 5; col. 13, l. 45 - 46; col. 14, l. 35
                                         and septic shock, 2012. Intensive                    - col. 48, l. 20; col. 50, l. 13 - 37;
                                         Care Med 2013;39:165-228, at pp.                     col. 52, l. 1 - 13; col. 55, l. 30 -
                                         179-183.                                             col. 56, l. 28; col. 60, l. 13 - 37;



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 Term for      Claims   Par’s Proposed      Par’s Supporting Evidence         Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                         Proposed
                                                                             Construction
                                                                                            col. 62, l. 30 - col. 66, l. 11;
                                         Neumar RW, Otto CW, Link MS,
                                                                                            col. 103, l. 1 - col. 104, l. 67;
                                         et al. Part 8: adult advanced
                                                                                            col. 125, l. 20 - col. 129, l. 13;
                                         cardiovascular life support: 2010
                                                                                            col. 129, l. 20 - col. 130, l. 28;
                                         American Heart Association
                                                                                            col. 137, l. 30 - col. 140, l. 31
                                         Guidelines for Cardiopulmonary
                                         Resuscitation and Emergency
                                                                                            Prosecution history of the ’223
                                         Cardiovascular Care. Circulation
                                                                                            patent, including Application filed
                                         2010; 122:S729-67 at S736, S743.
                                                                                            on May 26, 2017; Preliminary
                                                                                            Amendment filed on May 26, 2017;
                                                                                            Non-final Rejection dated
                                                                                            September 18, 2017; Response to
                                                                                            Non-final Rejection dated
                                                                                            November 27, 2017; Kannan
                                                                                            Affidavit dated November 27,
                                                                                            2017; McIntyre Affidavit dated
                                                                                            November 27, 2017; Notice of
                                                                                            Allowance dated January 17, 2018;
                                                                                            Issue Classification dated
                                                                                            January 17, 2018

                                                                                            Prosecution history of the ’239
                                                                                            patent, including Application filed
                                                                                            on May 20, 2015; Preliminary
                                                                                            Amendment filed on June 3, 2015;
                                                                                            Non-final Rejection dated June 5,
                                                                                            2015; Response after Non-final
                                                                                            Rejection dated August 14, 2015;
                                                                                            Affidavit filed August 14, 2015;



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    Final Rejection filed October 21,
                                                                                    2015; Response to Final Rejection
                                                                                    filed November 24, 2015; Non-
                                                                                    Final Rejection dated January 11,
                                                                                    2016; Examiner Initiated Interview
                                                                                    Summary dated March 17, 2016;
                                                                                    Applicant-Initiated Interview
                                                                                    Summary dated March 17, 2016;
                                                                                    Response to Non-Final Rejection
                                                                                    filed on March 17, 2016; Affidavit
                                                                                    filed March 17, 2016; Final
                                                                                    Rejection filed May 12, 2016;
                                                                                    Applicant-Initiated Interview
                                                                                    Summary dated September 9, 2016;
                                                                                    Response after Final Rejection filed
                                                                                    on November 3, 2016; Non-final
                                                                                    Rejection dated November 22,
                                                                                    2016; Response to Non-Final
                                                                                    Rejection filed on May 22, 2017;
                                                                                    Affidavit filed May 22, 2017;
                                                                                    Notice of Allowance dated July 11,
                                                                                    2017; Issue Classification dated
                                                                                    July 11, 2017

                                                                                    T. Treschan et al., The Vasopressin
                                                                                    System Physiology and Clinical
                                                                                    Strategies, Anesthesiology (2006)
                                                                                    105:599-612. (SAND-
                                                                                    VASO00007208-7221)



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction

                                                                                    Pharmaceutical Partners of Canada
                                                                                    Inc., Vasopressin Injection, USP,
                                                                                    June 2009. (SAND-
                                                                                    VASO00007111)

                                                                                    Extrinsic Evidence:

                                                                                    Sandoz may introduce testimony
                                                                                    from one or more experts (e.g.,
                                                                                    Laird Forrest, Michael Maile)
                                                                                    regarding peptide formulation, the
                                                                                    administration of vasopressin in
                                                                                    clinical settings, and/or how a
                                                                                    person of ordinary skill in the art
                                                                                    would have understood this claim
                                                                                    term, namely that a person of
                                                                                    ordinary skill would have
                                                                                    understood the term to require
                                                                                    “intravenously administering the
                                                                                    portion[/second portion] of the
                                                                                    pharmaceutical composition having
                                                                                    the properties recited in the claim to
                                                                                    the human.”

                                                                                    Sandoz may introduce rebuttal
                                                                                    testimony from one or more experts
                                                                                    (e.g., Laird Forrest, Michael Maile)
                                                                                    regarding peptide formulation, the



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    administration of vasopressin in
                                                                                    clinical settings, and/or how a
                                                                                    person of ordinary skill in the art
                                                                                    would have understood this claim
                                                                                    term, namely that a person of
                                                                                    ordinary skill would have not have
                                                                                    understood the term in the manner
                                                                                    proposed by Plaintiffs.

                                                                                    R. P. Dellinger et al., Surviving
                                                                                    Sepsis Campaign: international
                                                                                    guidelines for management of
                                                                                    severe sepsis and septic shock,
                                                                                    2012. Intensive Care Med
                                                                                    2013;39:165-228, at pp. 179-183.

                                                                                    R.W. Neumar, et al. Part 8: adult
                                                                                    advanced cardiovascular life
                                                                                    support: 2010 American Heart
                                                                                    Association Guidelines for
                                                                                    Cardiopulmonary Resuscitation
                                                                                    and Emergency Cardiovascular
                                                                                    Care. Circulation 2010;
                                                                                    122:S729¬67 at S736, S743.

                                                                                    CareFusion, User Manual, AlarisTM
                                                                                    System, e.g., 2-108 to 2-114
                                                                                    (November 2014).




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 Term for        Claims    Par’s Proposed       Par’s Supporting Evidence           Sandoz’s           Sandoz’s Supporting Evidence
Construction                Construction                                            Proposed
                                                                                   Construction
                                                                                                      Smiths Medical, Medfusion®
                                                                                                      Syringe Pump, Model 3500,
                                                                                                      Operator’s Manual, e.g., 122-125,
                                                                                                      128-130 (2013).

                                                                                                      E. Fulcher et al., Introduction to
                                                                                                      Intravenous Therapy for Health
                                                                                                      Professionals (1st ed. 2007)

                                                                                                      Intrinsic Evidence:
“wherein the     ’209     Ordinary           E.g., ’209 Patent claim 1, 11;      This phrase
impurities are   patent,  meaning, no        52:16-53:55; 54:4-57:40 (Example    requires a step of
                                                                                                      ’209 patent, claims 1, 11
determined       claim 11 construction       1).                                 determining the
                                                                                                      ’785 patent, claims 1, 2
based on”                 necessary                                              impurities based
                 ’785                        ’785 Patent claim 1, 2; 52:16-      on the HPLC
                          (e.g., wherein     53:57; 54:9-57:43 (Example 1).                           The specifications of the patents-in-
                 patent,                                                         method recited in
                                                                                                      suit, including the following
                 claim 2 any                                                     the claim
                          determination      Par may additionally rely on                             passages:
                          as to whether      expert opinion testimony to rebut
                          the                any expert opinions proffered by                         ’478 patent, col. 2, l. 3 - 4; col. 6,
                          pharmaceutical     Sandoz on this term.                                     l. 53 - col. 7, l. 21; col. 7, l. 53 -
                          composition                                                                 col. 8, l. 22; col. 14, l. 50 - col. 15,
                          includes the                                                                l. 25; col. 15, l. 41 - col. 19, l. 15;
                          specified                                                                   col. 19, l. 19 - 28; col. 19, l. 30 -
                          impurities is to                                                            54; col. 20, l. 9 - 19; col. 20, l. 21 -
                          be made via the                                                             col. 21, l. 3
                          recited
                          procedure)                                                                  ’526 patent, col. 2, l. 10 - 26;
                                                                                                      col. 52, l. 56 - col. 53, l. 9; col. 53,
                                                                                                      l. 50 - col. 57, l. 25; col. 57, l. 25 -



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    38; col. 57, l. 40 - 67; col. 58, l. 45
                                                                                    - col. 59, l. 31; col. 59, l. 32 - 50;
                                                                                    col. 63, l. 2 - col. 70, l. 20; col. 97,
                                                                                    l. 1 - col. 98, l. 47; col. 98, l. 49 -
                                                                                    col. 99, l. 30; col. 99, l. 31 -
                                                                                    col. 100, l. 29

                                                                                    ’209 patent, col. 1, l. 60 - col. 2,
                                                                                    l. 33; col. 2, l. 66 - col. 4, l. 39;
                                                                                    col. 8, l. 42 - 65; col. 9, l. 13 - 64;
                                                                                    col. 10, l. 21 - col. 11, l. 33; col. 12,
                                                                                    l. 7 - 43; col. 52, l. 16 - col. 53,
                                                                                    l. 55; col. 54, l. 4 - col. 57, l. 40;
                                                                                    col. 57, l. 40 - 55; col. 57, l. 56 -
                                                                                    col. 58, l. 55; col. 59, l. 10 - 59;
                                                                                    col. 63, l. 20 - col. 97, l. 40; col. 97,
                                                                                    l. 41 - col. 99, l. 16; col. 99, l. 16 -
                                                                                    60; col. 99, l. 61 - col. 100, l. 67;
                                                                                    col. 103, l. 3 - col. 107, l. 39;
                                                                                    col. 115, l. 48 - 64; col. 117, l. 11 -
                                                                                    col. 118, l. 19; Figs. 1-19.

                                                                                    ’239 patent, col. 15, l. 10 - 42;
                                                                                    col. 16, l. 9 - col. 19, l. 44; col. 19,
                                                                                    l. 45 - 57; col. 19, l. 60 - col. 20,
                                                                                    l. 52; col. 21, l. 4 - 67

                                                                                    ’785 patent, col. 1, l. 58 - col. 2,
                                                                                    l. 31; col. 2, l. 66 - col. 4, l. 40;



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    col. 8, l. 41 - 64; col. 9, l. 12 - 63;
                                                                                    col. 10, l. 20 - col. 11, l. 32; col. 12,
                                                                                    l. 6 - 42; col. 52, l. 16 - col. 53,
                                                                                    l. 57; col. 54, l. 9 - col. 57, l. 43;
                                                                                    col. 57, l. 44 - 56; col. 57, l. 60 -
                                                                                    col. 58, l. 16; col. 58, l. 40 - col. 59,
                                                                                    l. 21; col. 62, l. 54 - col. 96, l. 40;
                                                                                    col. 96, l. 44 - col. 98, l. 37; col. 98,
                                                                                    l. 41 - col. 99, l. 26; col. 99, l. 31-
                                                                                    col. 100, l. 39; col. 102, l. 51 -
                                                                                    col. 105, l. 41; col. 113, l. 53 -
                                                                                    col. 115, l. 12; Figs. 1-19.

                                                                                    ’223 patent, col. 2, l. 3 - 18; col. 54,
                                                                                    l. 7 - col. 55, l. 2; col. 56, l. 34 -
                                                                                    col. 59, l. 38; col. 60, l. 1 - 13;
                                                                                    col. 60, l. 15 - col. 61, l. 3; col. 61,
                                                                                    l. 25 - col. 62, l. 8; col. 66, l. 14 -
                                                                                    col. 99, l. 40; col. 99, l. 41 -
                                                                                    col. 101, l. 17; col. 101, l. 21 - 67;
                                                                                    col. 102, l. 1 - 67; col. 105, l. 1 -
                                                                                    col. 108, l. 34

                                                                                    Prosecution history of the ’478
                                                                                    patent, including Application filed
                                                                                    on May 20, 2015; Preliminary
                                                                                    Amendment filed on June 3, 2015;
                                                                                    Non-final Rejection dated June 8,
                                                                                    2015; Response after Non-final



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    Rejection dated August 14, 2015;
                                                                                    Affidavit filed on August 14, 2015;
                                                                                    Final Rejection dated October 22,
                                                                                    2015; Response after Final
                                                                                    Rejection dated January 22, 2016;
                                                                                    Affidavit filed on January 22, 2016;
                                                                                    Non-final Rejection dated
                                                                                    February 2, 2016; Response after
                                                                                    Non-Final Rejection dated
                                                                                    March 31, 2016; Affidavit filed on
                                                                                    March 31, 2016; Notice of
                                                                                    Allowance dated May 4, 2016;
                                                                                    Issue Classification dated May 4,
                                                                                    2016

                                                                                    Prosecution history of the ’209
                                                                                    patent, including Application filed
                                                                                    on February 7, 2017; Preliminary
                                                                                    Amendment dated February 7,
                                                                                    2017; Non-final Rejection dated
                                                                                    March 29, 2017; Response after
                                                                                    Non-final Rejection dated June 28,
                                                                                    2017; Applicant-Initiated Interview
                                                                                    Summary dated July 3, 2017;
                                                                                    Notice of Allowance dated July 11,
                                                                                    2017; Issue Classification dated
                                                                                    July 11, 2017




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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    Prosecution history of the ’239
                                                                                    patent, including Application filed
                                                                                    on May 20, 2015; Preliminary
                                                                                    Amendment filed on June 3, 2015;
                                                                                    Non-final Rejection dated June 5,
                                                                                    2015; Response after Non-final
                                                                                    Rejection dated August 14, 2015;
                                                                                    Affidavit filed August 14, 2015;
                                                                                    Final Rejection filed October 21,
                                                                                    2015; Response to Final Rejection
                                                                                    filed November 24, 2015; Non-
                                                                                    Final Rejection dated January 11,
                                                                                    2016; Examiner Initiated Interview
                                                                                    Summary dated March 17, 2016;
                                                                                    Applicant-Initiated Interview
                                                                                    Summary dated March 17, 2016;
                                                                                    Response to Non-Final Rejection
                                                                                    filed on March 17, 2016; Affidavit
                                                                                    filed March 17, 2016; Final
                                                                                    Rejection filed May 12, 2016;
                                                                                    Applicant-Initiated Interview
                                                                                    Summary dated September 9, 2016;
                                                                                    Response after Final Rejection filed
                                                                                    on November 3, 2016; Non-final
                                                                                    Rejection dated November 22,
                                                                                    2016; Response after Final
                                                                                    Rejection filed on May 22, 2017;
                                                                                    Affidavit filed May 22, 2017; Issue
                                                                                    Classification dated July 11, 2017



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction

                                                                                    Prosecution history of the ’785
                                                                                    patent, including Application filed
                                                                                    on February 7, 2017; Preliminary
                                                                                    Amendment dated February 7,
                                                                                    2017; Non-final Rejection dated
                                                                                    March 29, 2017; Response after
                                                                                    Non-final Rejection dated June 28,
                                                                                    2017; Applicant-Initiated Interview
                                                                                    Summary dated July 3, 2017;
                                                                                    Notice of Allowance dated July 20,
                                                                                    2017; Issue Classification dated
                                                                                    July 20, 2017

                                                                                    Extrinsic Evidence:

                                                                                    Sandoz may introduce testimony
                                                                                    from one or more experts (e.g.,
                                                                                    Laird Forrest) regarding peptide
                                                                                    formulation, the determination of
                                                                                    peptide impurities in the relevant
                                                                                    art, and/or how a person of ordinary
                                                                                    skill in the art would have
                                                                                    understood this claim term, namely
                                                                                    that a person of ordinary skill
                                                                                    would have understood the term to
                                                                                    require a step of determining the
                                                                                    impurities based on the HPLC
                                                                                    method recited in the claim.



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 Term for         Claims    Par’s Proposed         Par’s Supporting Evidence          Sandoz’s       Sandoz’s Supporting Evidence
Construction                 Construction                                             Proposed
                                                                                     Construction

                                                                                                    Sandoz reserves the right to
                                                                                                    introduce rebuttal testimony from
                                                                                                    one or more experts (e.g., Laird
                                                                                                    Forrest) in response to any expert
                                                                                                    testimony that Plaintiffs may
                                                                                                    introduce.


                                                                                                    Intrinsic Evidence:
“consists         ’478      Ordinary            MPEP § 2111.03 (Transitional       Indefinite
essentially of”   patent,   meaning, no         Phrases)
                                                                                                    ’478 patent, claims 1 - 11
                  claims    construction
                  1-11      necessary           E.g., ’478 Patent, 1:18-41, 4:1-
                                                5:60, 7:22-51, 8:23-33, 11:3-                       The specifications of the patents-in-
                            (e.g., a unit       12:16, 12:58-13:55; 15:41-24:21.                    suit, including the following
                            dosage form                                                             passages:
                            that has the        Response to Final Office Action
                            components and      and Amendment (Appl. No.                            ’478 patent, col. 1, l. 18 - 41; col. 4,
                            characteristics     14/717,882 (’478 Patent)), 7-12                     l. 1 - col. 5, l. 60; col. 7, l. 22-51;
                            recited in the      (Mar. 31, 2016) – PAR-VASO-                         col. 7, l. 53 - col. 8, l. 33; col. 11,
                            claim and may       0002565-2579                                        l. 3 - col. 12, l. 16; col. 12, l. 58-
                            only include                                                            col. 13, l. 55; col. 15, l. 41 - col. 24,
                            other materials     Declaration of Vinayagam Kannan                     l. 21; col. 24, l. 30 - col. 25, l. 3;
                            that do not         Appl. No. 14/717,882 (’478                          col. 33, l. 1 - col. 34, l. 24
                            materially affect   Patent)), (Mar. 31, 2016) – PAR-
                            its stability,      VASO-0002580-2590                                   ’526 patent, col. 1, l. 41 - 57;
                            pharmaceutical                                                          col. 12, l. 13 - 42; col. 102, l. 22 -
                            acceptability,      Applicant-Initiated Interview                       62
                            effectiveness in    Summary (Appl. No. 14/717,882



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 Term for      Claims   Par’s Proposed       Par’s Supporting Evidence         Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                          Proposed
                                                                              Construction
                        treating          (’478 Patent)) (Mar. 18, 2016) –                   ’209 patent, col. 1, l. 44 - 58;
                        hypotension, or   PAR-VASO-0002560-2563                              col. 12, l. 14 - 43; col. 107, l. 44 -
                        suitability for                                                      col. 108, l. 44
                        intravenous       Response to Final Office Action
                        injection)        and Amendment (Appl. No.                           ’239 patent, col. 1, l. 32 - 46; col. 8,
                                          14/717,882 (’478 Patent)), 2, 5-9                  l. 11 - 40; col. 25, l. 20 - col. 26,
                                          (Jan. 22, 2016) – PAR-VASO-                        l. 1; col. 26, l. 19 - 28
                                          0002283-2293
                                                                                             ’785 patent, col. 1, l. 40 - 54;
                                          Declaration of Sunil Vandse                        col. 12, l. 13 - 42; col. 105, l. 48 -
                                          (Appl. No. 14/717,882 (’478                        col. 106, l. 22; col. 106, l. 39 - 48
                                          Patent)), (Jan. 22, 2016) – PAR-
                                          VASO-0002304-2318                                  ’223 patent, col. 1, l. 40 - 53;
                                                                                             col. 13, l. 14 - 43; col. 129, l. 20 -
                                          Response to Office Action and                      col. 130, l. 1; col. 130, l. 19 - 28
                                          Amendment (Appl. No.
                                          14/717,882 (’478 Patent)), 5-7                     Prosecution history of the ’478
                                          (Aug. 14, 2015) – PAR-VASO-                        patent, including Application filed
                                          0001039-1038                                       on May 20, 2015; Preliminary
                                                                                             Amendment dated June 3, 2015;
                                          Declaration of Sunil Vandse
                                                                                             Non-final Rejection dated June 8,
                                          (Appl. No. 14/717,882 (’478
                                                                                             2015; Response after Non-final
                                          Patent)),(Aug. 11, 2015) – PAR-
                                                                                             Rejection dated August 14, 2015;
                                          VASO-0001039-1046
                                                                                             Affidavit filed on August 14, 2015;
                                          Par may additionally rely on                       Final Rejection dated October 22,
                                          expert opinion testimony to rebut                  2015; Response after Final
                                          any expert opinions proffered by                   Rejection dated January 22, 2016;
                                          Sandoz on this term.                               Affidavit filed on January 22, 2016;
                                                                                             Non-final Rejection dated



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    February 2, 2016; Applicant-
                                                                                    Initiated Interview Summary dated
                                                                                    March 18, 2016; Response after
                                                                                    Non-Final Rejection dated March
                                                                                    31, 2016; Affidavit filed on March
                                                                                    31, 2016; Notice of Allowance
                                                                                    dated May 4, 2016; Notice of
                                                                                    Allowance dated May 4, 2016;
                                                                                    Issue Classification dated May 4,
                                                                                    2016

                                                                                    Extrinsic Evidence:

                                                                                    Plaintiff’s Validity Contentions
                                                                                    dated May 29, 2019 at 44.

                                                                                    Plaintiffs’ Disclosure of Asserted
                                                                                    Claims and Initial Infringement
                                                                                    Contentions Under Local Patent
                                                                                    Rules 3.1 and 3.6 dated May 29,
                                                                                    2019 at Ex. A and G.

                                                                                    Plaintiffs Par Pharmaceutical, Inc.,
                                                                                    Par Sterile Products, LLC, and
                                                                                    Endo Par Innovation Company,
                                                                                    LLC’s Responses and Objections to
                                                                                    Defendant Sandoz Inc.’s Second
                                                                                    Set of Interrogatories (No. 12)
                                                                                    dated July 11, 2019



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction

                                                                                    MPEP § 2111.03 (Transitional
                                                                                    Phrases)

                                                                                    Sandoz may introduce testimony
                                                                                    from one or more experts (e.g.,
                                                                                    Laird Forrest, Michael Maile)
                                                                                    regarding how a person of ordinary
                                                                                    skill in the art would have
                                                                                    understood this claim term, namely
                                                                                    that a person of ordinary skill
                                                                                    would have found that this term
                                                                                    does not define the scope of the
                                                                                    invention with reasonable certainty,
                                                                                    including without limitation
                                                                                    because the intrinsic evidence does
                                                                                    not define the “basic and novel
                                                                                    properties” of the alleged invention
                                                                                    with reasonable certainty.

                                                                                    Sandoz reserves the right to
                                                                                    introduce rebuttal testimony from
                                                                                    one or more experts (e.g., Laird
                                                                                    Forrest, Michael Maile) in response
                                                                                    to any expert testimony that
                                                                                    Plaintiffs may introduce.




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 Term for         Claims    Par’s Proposed        Par’s Supporting Evidence            Sandoz’s          Sandoz’s Supporting Evidence
Construction                 Construction                                              Proposed
                                                                                      Construction
                                               ’239 Patent 1:21-28, 2:1-32, 3:39-   This phrase is a   Intrinsic Evidence:
“wherein the      ’239      Ordinary
                                               5:34, 22:17-25:13 (Example 8)        non-limiting
human’s mean      patent,   meaning, no
                                                                                    statement of       ’478 patent, claims 1, 3
arterial blood    claim 5   construction
                                               ’478 Patent 1:18-25, 2:16-44, 4:1-   intended result    ’526 patent, claims 1, 5
pressure is                 necessary
                                               5:21, 21:22-24:23 (Example 8)                           ’239 patent, claims 1, 5
increased         ’478
within 15         patent,   (e.g. wherein
                            the mean           ’526 Patent 1:15-22, 2:35-65,                           The specifications of the patents-in-
minutes of        claim 3
                            arterial blood     5:12-6:49, 13:28-45:59, 59:51-                          suit, including the following
administration”
                                               62:59 (Example 7)                                       passages:
                  ’526      pressure of the
                  patent,   human in need      Par may additionally rely on
                            of having his or                                                           ’478 patent, col. 1, l. 18 - 25; col. 2,
                  claim 5                      expert opinion testimony to rebut
                            her blood                                                                  l. 16 - 44; col. 4, l. 1 - col. 5, l. 21;
                                               any expert opinions proffered by
                            pressure                                                                   col. 21, l. 22 - col. 24, l. 23; col. 33,
                                               Sandoz on this term.
                            increased is                                                               l. 2-17; col. 33, l. 20 - 22
                            increased within
                            the first 15                                                               ’526 patent, col. 1, l. 15 - 22; col. 2,
                            minutes after                                                              l. 35 - 65; col. 5, l. 12 - col. 6, l. 49;
                            the claimed                                                                col. 13, l. 28 - col. 45, l. 59; col. 59,
                            vasopressin                                                                l. 51 - col. 62, l. 59; col. 109, l. 64 -
                            composition has                                                            col. 111, l. 11; col. 111, l. 21 - 23
                            been
                            administered to                                                            ’209 patent, col. 1, l. 19 - 25; col. 2,
                            him or her)                                                                l. 39 - 65; col. 4, l. 42 - col. 5, l. 67;
                                                                                                       col. 60, l. 17 - 20; col. 62, l. 16 -
                                                                                                       col. 63, l. 7

                                                                                                       ’239 patent, col. 1, l. 21 - 28; col. 2,
                                                                                                       l. 1 - 32; col. 3, l. 39 - col. 5, l. 34;




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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s        Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    col. 22, l. 17 - col. 25, l. 13; col. 33,
                                                                                    l. 31 - 53; col. 33, l. 65 - 67

                                                                                    ’785 patent, col. 1, l. 15 - 21; col. 2,
                                                                                    l. 38 - 65; col. 4, l. 43 - col. 5, l. 67;
                                                                                    col. 59, l. 44 - 47; col. 61, l. 45 -
                                                                                    col. 62, l. 39

                                                                                    ’223 patent, col. 1, l. 16 - 22; col. 2,
                                                                                    l. 57 - col. 3, l. 15; col. 5, l. 23 -
                                                                                    col. 6, l. 67; col. 62, l. 34 - 37;
                                                                                    col. 64, l. 40 - col. 65, l. 37;
                                                                                    col. 128, l. 7 - col. 129, l. 2

                                                                                    Prosecution history of the ʼ478
                                                                                    patent, including Application filed
                                                                                    on May 20, 2015; Preliminary
                                                                                    Amendment dated June 3, 2015;
                                                                                    Non-final Rejection dated June 8,
                                                                                    2015; Response after Non-final
                                                                                    Rejection dated August 14, 2015;
                                                                                    Final Rejection dated October 22,
                                                                                    2015; Response after Final
                                                                                    Rejection dated January 22, 2016;
                                                                                    Non-final Rejection dated
                                                                                    February 2, 2016; Response after
                                                                                    Non-Final Rejection dated
                                                                                    March 31, 2016; Notice of
                                                                                    Allowance dated May 4, 2016;



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    Issue Classification dated May 4,
                                                                                    2016

                                                                                    Prosecution history of the ’239
                                                                                    patent, including Application filed
                                                                                    on May 20, 2015; Preliminary
                                                                                    Amendment dated June 3, 2015;
                                                                                    Non-final Rejection dated June 5,
                                                                                    2015; Response after Non-final
                                                                                    Rejection dated August 14, 2015;
                                                                                    Final Rejection filed October 21,
                                                                                    2015; Response to Final Rejection
                                                                                    filed November 24, 2015; Non-
                                                                                    Final Rejection dated January 11,
                                                                                    2016; Examiner Initiated Interview
                                                                                    Summary dated March 17, 2016;
                                                                                    Applicant-Initiated Interview
                                                                                    Summary dated March 17, 2016;
                                                                                    Response to Non-Final Rejection
                                                                                    filed on March 17, 2016; Affidavit
                                                                                    filed March 17, 2016; Final
                                                                                    Rejection filed May 12, 2016;
                                                                                    Applicant-Initiated Interview
                                                                                    Summary dated September 9, 2016;
                                                                                    Response after Final Rejection filed
                                                                                    on November 3, 2016; Non-final
                                                                                    Rejection dated November 22,
                                                                                    2016; Response after Final
                                                                                    Rejection filed on May 22, 2017;



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    Issue Classification dated July 11,
                                                                                    2017

                                                                                    Prosecution history of the ’526
                                                                                    patent, including Application filed
                                                                                    on October 10, 2016; Preliminary
                                                                                    Amendment dated October 10,
                                                                                    2016; Non-final Rejection dated
                                                                                    February 22, 2017; Applicant-
                                                                                    Initiated Interview Summary dated
                                                                                    April 11, 2017; Response after
                                                                                    Non-final Rejection dated May 2,
                                                                                    2017; Notice of Allowance dated
                                                                                    May 12, 2017; Issue Classification
                                                                                    dated May 12, 2016

                                                                                    T. Treschan et al., The Vasopressin
                                                                                    System Physiology and Clinical
                                                                                    Strategies, Anesthesiology (2006)
                                                                                    105:599-612. (SAND-
                                                                                    VASO00007208-7221)

                                                                                    M.L. Buck, Low-dose Vasopressin
                                                                                    Infusions for Vasodilatory Shock,
                                                                                    Pediatric Pharmacotherapy (2003)
                                                                                    9(9): 1-4. (SAND-
                                                                                    VASO00006921-6924)




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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    M. Argenziano et al., A Prospective
                                                                                    Randomized Trial of Arginine
                                                                                    Vasopressin in the Treatment of
                                                                                    Vasodilatory Shock After left
                                                                                    Ventricular Assist Device
                                                                                    Placement, Circulation (1997)
                                                                                    96(9): II-286-II-290. (SAND-
                                                                                    VASO00006735-6743)

                                                                                    D.L.S. Morales et al., Arginine
                                                                                    Vasopressin in the Treatment of 50
                                                                                    Patients With Postcardiotomy
                                                                                    Vasodilatory Shock, Ann. Thorac.
                                                                                    Surg. (2000) 69:102-106. (SAND-
                                                                                    VASO00007078-7082)

                                                                                    D.W. Landry et al., Vasopressin
                                                                                    Deficiency Contributes to the
                                                                                    Vasodilation of Septic Shock,
                                                                                    Circulation (1997) 95(5): 1122-
                                                                                    1125. (SAND-VASO00008090-
                                                                                    8098)

                                                                                    Vasostrict (vasopressin injection)
                                                                                    for intravenous use dated April
                                                                                    2014. ( SAND-VASO00007231-
                                                                                    7239)




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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction
                                                                                    Vasostrict (vasopressin injection)
                                                                                    for intravenous use dated
                                                                                    September 2014. (SAND-
                                                                                    VASO00007240-7243)

                                                                                    Vasostrict (vasopressin injection)
                                                                                    for intravenous use dated March
                                                                                    2016. (SAND-VASO00007247-
                                                                                    7248)

                                                                                    Vasostrict (vasopressin injection)
                                                                                    for intravenous use dated December
                                                                                    2016. (SAND-VASO00007249-
                                                                                    7250)

                                                                                    Extrinsic Evidence:

                                                                                    Sandoz may introduce testimony
                                                                                    from one or more experts (e.g.,
                                                                                    Michael Maile) regarding the
                                                                                    clinical effects of administering
                                                                                    vasopressin and/or how a person of
                                                                                    ordinary skill in the art would have
                                                                                    understood this claim term, namely
                                                                                    that a person of ordinary skill
                                                                                    would have understood the term to
                                                                                    recite an intended result of the
                                                                                    claimed method and not to further
                                                                                    limit the claimed method.



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 Term for      Claims   Par’s Proposed   Par’s Supporting Evidence    Sandoz’s       Sandoz’s Supporting Evidence
Construction             Construction                                 Proposed
                                                                     Construction

                                                                                    Sandoz reserves the right to
                                                                                    introduce rebuttal testimony from
                                                                                    one or more experts (e.g., Michael
                                                                                    Maile) in response to any expert
                                                                                    testimony that Plaintiffs may
                                                                                    introduce.




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